   Case 3:19-bk-31753-SHB        Doc 60 Filed 10/21/19 Entered 10/21/19 12:39:03   Desc
                                 Main Document Page 1 of 10




SO ORDERED.
SIGNED this 21st day of October, 2019

THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.




       ________________________________________________________________
Case 3:19-bk-31753-SHB   Doc 60 Filed 10/21/19 Entered 10/21/19 12:39:03   Desc
                         Main Document Page 2 of 10
Case 3:19-bk-31753-SHB   Doc 60 Filed 10/21/19 Entered 10/21/19 12:39:03   Desc
                         Main Document Page 3 of 10
Case 3:19-bk-31753-SHB   Doc 60 Filed 10/21/19 Entered 10/21/19 12:39:03   Desc
                         Main Document Page 4 of 10
Case 3:19-bk-31753-SHB   Doc 60 Filed 10/21/19 Entered 10/21/19 12:39:03   Desc
                         Main Document Page 5 of 10
Case 3:19-bk-31753-SHB   Doc 60 Filed 10/21/19 Entered 10/21/19 12:39:03   Desc
                         Main Document Page 6 of 10
Case 3:19-bk-31753-SHB   Doc 60 Filed 10/21/19 Entered 10/21/19 12:39:03   Desc
                         Main Document Page 7 of 10
Case 3:19-bk-31753-SHB   Doc 60 Filed 10/21/19 Entered 10/21/19 12:39:03   Desc
                         Main Document Page 8 of 10
Case 3:19-bk-31753-SHB   Doc 60 Filed 10/21/19 Entered 10/21/19 12:39:03   Desc
                         Main Document Page 9 of 10
Case 3:19-bk-31753-SHB   Doc 60 Filed 10/21/19 Entered 10/21/19 12:39:03   Desc
                         Main Document Page 10 of 10
